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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION

 UNITED STATES OF AMERICA,                    §
                                              §
        Plaintiff,                            §
                                              §
 v.                                           §
                                                   Criminal Action No. 4:21-cr-5-O
                                              §
 THE BOEING COMPANY,                          §
                                              §
        Defendant.                            §

                                          ORDER

       Before the Court is the Naoise Connolly Ryan, et al.’s Motion Requesting the Court Not

Accept the Rule 11(C)(1)(c) Plea Agreement (ECF Nos. 232 and 234), Arfiyandi, et al.’s

Submission Regarding the Proposed Plea Agreement (ECF No. 233), Polskie Linie Lotnicze LOT

S.A.’s (“LOT’s”) Motion Requesting that the Court Recognize Its Rights as a Crime Victim and

Reject the Proposed Plea Agreement (ECF No. 235), the Manfredi Family’s Motion Requesting

that the Court not Accept the Rule 11(C)(1)(c) Binding Plea Agreement (ECF No. 236), the

Government’s Consolidated Response In Support of the Proposed Plea Agreement (ECF No. 245),

the Boeing Company’s (“Boeing’s”) Consolidated Response to Objections to Proposed Plea

Agreement (ECF No. 246), Lot’s Reply (ECF No. 249), Naoise Connolly Ryan, et al.’s Reply

(ECF No. 254), and the Manfredi Family’s Reply (ECF No. 256).

       The Government and Boeing have drafted a Proposed Plea Agreement (ECF No. 222-1),

and they want it accepted. All of the above-mentioned parties have briefed legal arguments

concerning whether the Court should accept it. The Court sets an in-person hearing on Friday,

October 11, 2024, at 9:00 am to discuss the legal arguments presented in the parties’ briefing
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regarding the Plea Agreement. The hearing will convene in the Second Floor Courtroom, 501 W.

10th Street, Fort Worth, Texas and will proceed as follows:

     •   Counsel for the Government will be given 20 minutes to explain to the Court why it
         should accept the Plea Agreement.

     •   Counsel for Boeing will be given 20 minutes to explain to the Court why it should accept
         the Plea Agreement.

     •   Counsel for Naoise Connolly Ryan, et al. on behalf of his clients and the joinder victims1
         and additional supporters will be given 20 minutes to explain to the Court why it should
         reject the Plea Agreement.

     •   Counsel for Arfiyandi, et al. will be given 20 minutes to explain to the Court why it should
         reject the Plea Agreement.

     •   Counsel for LOT2 will be given 20 minutes to explain to the Court why it should reject
         the Plea Agreement.

     •   Counsel for the Government will be given 10 minutes for rebuttal.

     •   Counsel for Boeing will be given 10 minutes for rebuttal.

         Above-mentioned Counsel are hereby ORDERED to appear at the hearing. All counsel

should avoid repeating arguments already presented by other counsel.

         SO ORDERED on this 27th day of September, 2024.



                                                    _____________________________________
                                                    Reed O’Connor
                                                    UNITED STATES DISTRICT JUDGE




1
  This includes Rini Eka A. Soegiyono, et al. (ECF Nos. 238 and 255) and the Manfredi Family (ECF
Nos. 236 and 256).
2
  The Court is currently considering Lot’s status under the CVRA. Nevertheless, for the sake of judicial
expediency, LOT is allowed to argue before the Court as to why it should reject the Plea Agreement.
